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                 EXHIBIT E
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    1      Mr. McCann.        And then it didn't come -- I
    2      didn't have -- I've never had a personal
    3      discussion with Mr. McCann about this.                    It
    4      was relayed through attorneys and back.
    5               Q.        Okay.     Now, there are five
    6      methodologies here.           Which one are you
    7      endorsing?
    8               A.        None.
    9               Q.        You don't endorse any of them?
   10               A.        No, sir.
   11               Q.        Okay.
   12               A.        I used these methodologies
   13      because they were used by the industry.                    So I
   14      didn't want to impose a methodology that
   15      wasn't, you know, recognized or utilized by
   16      one or multiple distributors.
   17                         MR. NICHOLAS:        Okay.      Okay.
   18               Let's take a break.
   19                         THE VIDEOGRAPHER:          Going off
   20               the record at 12:46 p.m.
   21                         (Recess taken, 12:46 p.m. to
   22               1:30 p.m.)
   23                         THE VIDEOGRAPHER:          We're back
   24               on the record at 1:30 p.m.
   25                         MR. FULLER:        Counsel, I think

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    1      third paragraph from the top of the page, you
    2      say:     The ARCOS data, defendant transactional
    3      data, and the SLCG reports generated
    4      therefrom are consistent with the types of
    5      data, facts, information, and reports I would
    6      typical rely on in conducting the analysis
    7      and reaching the opinions contained therein.
    8                         Do you see that?
    9               A.        I do, sir.
   10               Q.        Now, is it your opinion that
   11      Dr. McCann's five threshold-based
   12      methodologies can be used to identify
   13      suspicious orders under Section 1301.74?
   14                         MR. FULLER:        Form, compound.
   15               A.        You're asking this question
   16      about Dr. McCann in regards to this
   17      paragraph?
   18      BY MR. EPPICH:
   19               Q.        I can rephrase it.
   20                         Is it your opinion that the
   21      five threshold-based methodologies used by
   22      Dr. McCann and cited by yourself, that those
   23      methodologies can be used to identify
   24      suspicious orders under Section 1301.74?
   25               A.        No, I think my opinion is clear

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    1      that they aren't suitable suspicious order
    2      systems.
    3               Q.        Is it your opinion that
    4      Dr. McCann's -- and I quote -- "flagged
    5      orders" are suspicious orders under
    6      Section 1301.74(b)?
    7               A.        Are you jumping back to the
    8      methodologies?
    9               Q.        I'm just asking you a question,
   10      sir.
   11                         MR. FULLER:        You can clarify
   12               the question if you don't understand.
   13      BY MR. EPPICH:
   14               Q.        But, yes, under the
   15      methodologies.         Under the methodologies, yes,
   16      sir.
   17               A.        No, those aren't suspicious
   18      orders under the methodologies.                 Those are
   19      dosage units.
   20               Q.        While you were at the DEA, and
   21      the DEA was analyzing ARCOS data, did DEA use
   22      any of Dr. McCann's five methodologies to
   23      identify suspicious orders?
   24               A.        When I was at the DEA?
   25               Q.        Yes, sir.

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